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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                          Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

         v.

SILVIA VITIELLO AND AIR BNB,

                        Defendants.


STIPULATION TO EXTEND DEFENDANT SILVIO VITIELLO’S TIME TO RESPOND
           TO PLAINTIFFS’ COMPLAINT AND [PROPOSED] ORDER


        Defendant Silvio Vitiello (incorrectly identified as “Silvia Vitiello”) and Plaintiffs David

Muniz and Cathy Muniz (collectively, the “Parties”), by and through their attorneys of record,

enter this Stipulation based on the following facts and circumstances:


        WHEREAS, Plaintiff filed this action in the Court of Common Pleas, Monroe County on

April 5, 2023.

        WHEREAS, Silvio Vitiello was served with the Complaint on May 15, 2023.


        WHEREAS, Defendant Airbnb filed its Notice of Removal in this Court on May 18,

2023.

        WHEREAS, Silvio Vitiello’s response to the Complaint is currently due on May 25,

2023.

        WHEREAS, the extension is warranted so that the Parties may confer in an attempt to

resolve and/or narrow the issues so as to promote an efficient resolution of this matter.




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        THEREFORE, the Parties stipulate and agree that the time within which Silvio

Vitiello may answer, object to, or otherwise respond to Plaintiffs’ Complaint is extended up

through and including June 26, 2023.



Dated: May 25, 2023                                 By: /s/Kamela Devole
                                                      Kamela Devole, Esq.
                                                      PA Bar ID: 323614
                                                      Wood Smith Henning & Berman, LLP
                                                      1760 Market Street
                                                      Suite 1001
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                                                      (215) 709-2253
                                                      kdevole@wshblaw.com
                                                      Attorney for Defendant
                                                      Silvio Vitiello




Dated: May 25, 2023                                By: /s/_John E. Lavelle__________________
                                                       John E. Lavelle, Esq.
                                                       PA Bar ID: 315154
                                                       JOHN E. LAVELLE LAW FIRM P.C.
                                                       630 Willis Avenue
                                                       Williston Park, New York 11596
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                                                       Attorney for Plaintiffs
                                                       David Muniz and Cathy Muniz




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                                 CERTIFICATE OF SERVICE

          I hereby certify that, on May 25, 2023, I caused to be served a true and correct copy of

 the foregoing Stipulation to Extend Defendant Silvio Vitiello’s Time to Respond to Plaintiffs’

 Complaint via United States mail on:
                                        John E. Lavelle, Esq.
                                   John E. Lavelle Law Firm P.C.
                                         630 Willis Avenue
                                  Williston Park, New York 11596
                                       Phone: (877) 465-5997
                                        Fax: (877) 471-1798
                                John.Lavelle@LavellelnjuryFirm.com


                                                             /s/ Kamela Devole




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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  DAVID MUNIZ AND CATHY MUNIZ,                        Civil Action No. 3:23-cv-00825-JFS

                        Plaintiffs,

          v.

  SILVIA VITIELLO AND AIR BNB,

                        Defendants.


                                      [PROPOSED] ORDER

    Based on the Stipulation of the Parties, Defendant Silvio Vitiello’s deadline to respond to

 the Complaint shall be extended up through and including June 26, 2023.

          IT IS SO ORDERED.


                                                            _____________________________
                                                            United States District Court Judge



 Dated: May ___, 2023




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